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                               TENTATIVE RULING

                     ISSUED BY JUDGE MARGARET M. MANN


Debtor:     CORE SUPPLEMENT TECHNOLOGY, INC.

Number:     17-06078-MM11

Hearing:     4:00 PM Wednesday, January 17, 2018

Motion:

    1) STATUS CONFERENCE ON CHAPTER 11 VOLUNTARY PETITION (fr.
       12/20/17)

Continued to February 1, 2018 at 2:30 p.m., Department 1 pursuant to stipulation.
Order will follow. Appearances at the January 17, 2018 hearing are excused.

    2) MOTION FOR INTERIM ORDER AUTHORIZING USE OF CASH
       COLLATERAL AND INVENTORY FILED BY DEBTOR (fr. 12/20/17)

Continued to February 1, 2018 at 2:30 p.m., Department 1 pursuant to stipulation.
Order will follow. Appearances at the January 17, 2018 hearing are excused.

    3) APPLICATION TO EMPLOY MELISSA BUSTARDE OF MAYFIELD
       BUSTARDE, LLP AS CORPORATE COUNSEL FOR DEBTOR (fr. 12/20/17)

Continued to February 1, 2018 at 2:30 p.m., Department 1 pursuant to stipulation.
Order will follow. Appearances at the January 17, 2018 hearing are excused.
 
